6/21/2011

10:30 AM
CR 3

TUESDAY Judge Randall L. Dunn
l 09-3418 rld By The Beach Productions, LLC vs Howell
09-36520
Status Hearing

By The Beach Productions, LLC -j NICHOLAS J HENDERSON

Nicholas Carl Howell - def

Evidentiary Hearing: Yes:E No: |:|

NEIL T JORGENSON

 

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Order to be prepared bv: l:l clerk's office E/ chambers EI

OD3 - Dismissal Order

 

 

 

#l_ Settled _ (21) days.
#2 to Prepare Judgment/order _ (2 l) days
#3 _ No answer _ (21) days.
OFRCP - Rule 26 Order
#l __ Planning conf. by _._._ / Conf. Report by _.__ _
#2 ___ Planning conf. by _._._/ No report
#3 _ Discovery can proceed.
#4 _ No planning conf./lnitial disclosures by _._ _
#5 _ Discovery limited to
DOCKET ENTRY:

R D :
ease 09-03418-rld Doc 17 Filed 06/21/11 “” ”‘° 6/21/2°11

